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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                       Miami Division


    PRESIDENT DONALD J. TRUMP, an individual,                            Case No.:

                            Plaintiff,
                                                                         COMPLAINT AND DEMAND
            v.                                                           FOR JURY TRIAL

    DOW JONES & COMPANY, INC. d/b/a THE WALL
    STREET JOURNAL, a Delaware corporation, NEWS
    CORPORATION, a Delaware corporation, KEITH RUPERT
    MURDOCH, an individual, ROBERT THOMSON, an
    individual, KHADEEJA SAFDAR, an individual, and
    JOSEPH PALAZZOLO, an individual,

                            Defendants.


         Plaintiff President Donald J. Trump (“Plaintiff” or “President Trump”), by and through his

  counsel, sues Defendants, Dow Jones & Company, Inc. d/b/a The Wall Street Journal (“Dow

  Jones”), News Corporation (“News Corp”), Keith Rupert Murdoch (“Murdoch”), Robert Thomson

  (“Thomson”), Khadeeja Safdar (“Safdar”), and Joseph Palazzolo (“Palazzolo”) (together,

  “Defendants”), and alleges as follows:

                                     NATURE OF THE ACTION
         “Grounded in facts, shaped by experience, and defined by editorial standards that don’t

  waver.” Dow Jones & Company, Inc.—the publisher of The Wall Street Journal newspaper—

  proudly proclaims this maxim across the banner of its website, holding itself out to the world as

  an honest and forthcoming broker of newsworthy material. And yet, Defendants’ malicious,

  deliberate, and despicable actions that give rise to this action show plainly that they do not practice

  what they preach.
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         On July 17, 2025, Defendants Khadeeja Safdar and Joseph Palazzolo co-authored and

  published an article largely focused on President Trump that falsely claimed that he authored,

  drew, and signed a card to wish the late—and utterly disgraced—Jeffrey Epstein a happy fiftieth

  birthday. To attempt and inextricably link President Trump to Epstein, Defendants Safdar and

  Palazzolo falsely claim that the salacious language of the letter is contained within a hand-drawn

  naked woman, which was created with a heavy marker. Worse, Defendants Safdar and Palazzolo

  falsely represent as fact that President Trump drew the naked woman’s breasts and signed his

  name “Donald” below her waist, “mimicking pubic hair.”

         Perplexingly, however, the “letter” is a “typewritten note styled as an imaginary

  conversation between Trump and Epstein, written in the third person.” Indeed, Defendants Safdar

  and Palazzolo provide a series of quotes from the nonexistent letter, claiming that the letter was

  written in third person, beginning with a voice over interluding a conversation, followed by a

  purported dialogue between President Trump and Epstein—as if they were characters in a play.

         On the one hand, Defendants Safdar and Palazzolo falsely pass off as fact that President

  Trump, in 2003, wrote, drew, and signed this letter. And on the other hand, Defendants Safdar and

  Palazzolo failed to attach the letter, failed to attach the alleged drawing, failed to show proof that

  President Trump authored or signed any such letter, and failed to explain how this purported letter

  was obtained. The reason for those failures is because no authentic letter or drawing exists.

  Defendants concocted this story to malign President Trump’s character and integrity and

  deceptively portray him in a false light.

         Despite the glaring failures in journalistic ethics and standards of accurate reporting,

  Defendants Dow Jones and News Corp—at the direction of Defendants Murdoch and Thomson—

  published to the world the false, defamatory, and malignant statements authored by Defendants

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  Safdar and Palazzolo. Hundreds of millions of people have already viewed the false and

  defamatory statements published by Defendants. And given the timing of the Defendants’ article,

  which shows their malicious intent behind it, the overwhelming financial and reputational harm

  suffered by President Trump will continue to multiply.

                                                PARTIES

         1.      Plaintiff President Donald J. Trump (“Plaintiff”) is a private citizen of the United

  States, a resident of the state of Florida, and is the 45th and 47th President of the United States of

  America.

         2.      Defendant Dow Jones & Company, Inc. d/b/a The Wall Street Journal (“Dow

  Jones”) is a Delaware corporation with its principal place of business in New York, New York.

  Dow Jones publishes The Wall Street Journal, which is a registered trademark owned by Dow

  Jones encompassing the newspaper that knowingly and recklessly published the numerous false,

  defamatory, and disparaging statements contained in the below-defined article.

         3.      Defendant News Corporation (“News Corp”) is a Delaware corporation with its

  principal place of business in New York, New York. News Corp is a holding company that wholly

  owns Dow Jones and oversees its corporate governance.

         4.      Defendant Keith Rupert Murdoch (“Murdoch”) is a natural person over the age of

  eighteen and, upon information and belief, is a resident of New York, New York. Murdoch is a

  director and majority owner of News Corp.

         5.      Defendant Robert Thomson (“Thomson”) is a natural person over the age of

  eighteen and, upon information and belief, is a resident of New York, New York. Thomson is the

  Chief Executive Officer of News Corp.



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          6.         Defendant Khadeeja Safdar (“Safdar”) is a natural person over the age of eighteen

  and, upon information and belief, is a resident of New York, New York. Safdar is a co-author of

  the numerous false, defamatory, and disparaging statements contained in the below-defined article.

          7.         Defendant Joseph Palazzolo (“Palazzolo”) is a natural person over the age of

  eighteen and, upon information and belief, is a resident of New York, New York. Safdar is a co-

  author of the numerous false, defamatory, and disparaging statements contained in the below-

  defined article.

                                       JURISDICTION AND VENUE

          8.         This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1332(a) as the

  parties are diverse, and the amount in controversy is greater than $75,000.00.

          9.         The Court possesses personal jurisdiction over Defendants Dow Jones and News

  Corp pursuant to Florida Statute § 48.193(2) on the grounds that, during the operative period

  alleged in the Complaint, they engaged in substantial and not isolated business activities in Florida,

  and more specifically in this District. By way of illustration, Defendants Dow Jones and News

  Corp publish the Wall Street Journal for daily circulation throughout Florida and in this District.

  Moreover, Defendants Dow Jones and News Corp publish online news reports at www.wsj.com.

          10.        In addition, this Court possesses personal jurisdiction over Defendants pursuant to:

                     a. Florida Statute §48.193(1)(a)(1) because Defendants Dow Jones and News

                        Corp operate, conduct, engage in, or carry on a business in this state or have an

                        office or agency in this state;

                     b. Florida Statute §48.193(1)(a)(2) on the grounds that all Defendants committed

                        a tortious act in this state (as alleged in this Complaint); and



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                 c. Florida Statute §48.193(1)(a)(6) on the grounds that Defendants caused injury

                     to President Trump within this state arising out of an act or omission by

                     Defendants outside this state, while at or about the time of the injury, products,

                     materials, or things processed, serviced, or manufactured by Defendants were

                     used or consumed within this state in the ordinary course of commerce, trade,

                     or use.

         11.     Venue is proper in this district pursuant to 28 U.S.C. § 1391(b)(2) and (b)(3)

  because a substantial part of the events or omissions giving rise to President Trump’s claims

  occurred in this District by virtue of the transmission and publication of the false and defamatory

  statements in this district (and elsewhere) and also because Defendants are subject to this Court’s

  personal jurisdiction with respect to this action.

                                       STATEMENT OF FACTS

         A.      The Article.

         12.     On July 15, 2025, Palazzolo sent an email to White House Press Secretary Karoline

  Leavitt advising of Dow Jones’ intent to publish an article which discussed a purported letter sent

  by President Trump to Epstein for Epstein’s fiftieth birthday.

         13.     That same afternoon, counsel for President Trump sent an email to Defendants

  advising that the intended article was false in claiming that President Trump authored the purported

  letter, which he did not, and further warned Dow Jones to cease and desist from publishing,

  disseminating, or otherwise distributing such information, because it was false and defamatory.

         14.     None of the Defendants responded to the email.




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         15.     Instead, on July 17, 2025, Defendants published, or caused the publishing of, the

  article authored by Defendants Safdar and Palazzolo titled “Jeffrey Epstein’s Friends Sent Him

  Bawdy Letters for a 50th Birthday Album. One was from Donald Trump” (the “Article”).

         16.     The Article was published in The Wall Street Journal as an exclusive. 1 However,

  since publication, Defendants have widely disseminated it to hundreds of millions of people

  worldwide.

         17.     Therein, Defendants falsely and maliciously stated that President Trump

  supposedly authored, drew, and signed a letter wishing Epstein a happy fiftieth birthday.

         18.     Defendants elaborated on their false, defamatory, unsubstantiated, and disparaging

  claims against President Trump by claiming that he drew an outline of a naked woman, drew

  breasts on her, and signed his name below her waist “mimicking pubic hair.”

         19.     Next, Defendants further maligned President Trump by wrongly and ludicrously

  contending that inside of the naked woman that he allegedly drew lies a “typewritten note styled

  as an imaginary conversation between Trump and Epstein, written in the third person.”

         20.     This is the entirety of that “imaginary conversation”:

                 “Voice Over: ‘There must be more to life than having everything,’
                 the note began.

                 Donald: Yes, there is, but I won’t tell you what it is.

                 Jeffrey: Nor will I, since I also know what it is.

                 Donald: We have certain things in common, Jeffrey.

                 Jeffrey: Yes, we do, come to think of it.


  1
           “Jeffrey Epstein’s Friends Sent Him Bawdy Letters for a 50th Birthday Album. One was
  from Donald Trump” WALL STREET JOURNAL (last visited July 18, 2025)
  (https://www.wsj.com/politics/trump-jeffrey-epstein-birthday-letter-we-have-certain-things-in-
  common-f918d796?mod=hp_lead_pos7).
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                 Donald: Enigmas never age, have you noticed that?

                 Jeffrey: As a matter of fact, it was clear to me the last time I saw
                 you.

                 Donald: A pal is a wonderful thing. Happy Birthday — and may
                 every day be another wonderful secret.”

         21.     Despite these unsubstantiated claims, however, the Article does not attach the

  purported letter, does not identify the purported drawing, nor does it show any proof that President

  Trump has anything to do with it.

         22.     Tellingly, the Article does not explain whether Defendants have obtained a copy of

  the letter, have seen it, have had it described to them, or any other circumstances that would

  otherwise lend credibility to the Article. That is because the supposed letter is a fake and the

  Defendants knew it when they chose to deliberately defame President Trump.

         23.     On the one hand, the Article states “It isn’t clear how the letter with Trump’s

  signature was prepared.” And yet, on the other hand, the Defendants pass off the false, defamatory,

  disparaging, and inflammatory statements in the Article as fact, falsely claiming without

  substantiation that President Trump is a “friend,” “pal,” or “family” of Epstein.

         24.     Indeed, the Article contains the following false statements that are defamatory per

  se:

                 a. “The letter bearing Trump’s name, which was reviewed by the Journal, is
                    bawdy—like others in the album. It contains several lines of typewritten text
                    framed by the outline of a naked woman, which appears to be hand-drawn
                    with a heavy marker. A pair of small arcs denotes the woman’s breasts, and
                    the future president’s signature is a squiggly “Donald” below her waist,
                    mimicking pubic hair.”

                 b. “It isn’t clear how the letter with Trump’s signature was prepared. Inside the
                    outline of the naked woman was a typewritten note styled as an imaginary
                    conversation between Trump and Epstein, written in the third person.”


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                 c. “Voice Over: There must be more to life than having everything,” the note
                    began. Donald: Yes, there is, but I won’t tell you what it is. Jeffrey: Nor will I,
                    since I also know what it is. Donald: We have certain things in common,
                    Jeffrey. Jeffrey: Yes, we do, come to think of it. Donald: Enigmas never age,
                    have you noticed that? Jeffrey: As a matter of fact, it was clear to me the last
                    time I saw you. Donald: A pal is a wonderful thing. Happy Birthday — and
                    may every day be another wonderful secret.

         25.     The Article also contains the following statements that are implicitly defamatory:

                 a. “Jeffrey Epstein’s Friends Sent Him Bawdy Letters for a 50th Birthday
                    Album. One Was From Donald Trump.”

                 b. “It was Jeffrey Epstein’s 50th birthday, and Ghislaine Maxwell was preparing
                    a special gift to mark the occasion. She turned to Epstein’s family and friends.
                    One of them was Donald Trump.”

                 c. “The album had poems, photos and greetings from businesspeople, academics,
                    Epstein’s former girlfriends and childhood pals, according to the documents
                    reviewed by the Journal and people familiar with them.”

                 d. “When he turned 50, Epstein was already wealthy from managing Wexner’s
                    fortune and was socializing with Trump, Clinton and other powerful people.
                    He often entertained at his Manhattan townhouse, Palm Beach, Fla., home
                    and private Caribbean island.”

         26.     Despite the clear journalistic failures of due diligence and accuracy of the Article,

  Dow Jones—at the direction of its director and majority owner Murdoch—and News Corp—at the

  direction of its CEO Thomson—published the Article to hundreds of millions of people.

         27.     Notably, Murdoch and Thomson authorized the publication of the Article after

  President Trump put them both on notice that the letter was fake and nonexistent.

         B.      The Article goes Viral.

         28.     Within hours of its publication, the Article went viral on television, internet, social

  media, and all other modes of communication.

         29.     The Article was also widely republished and discussed on the internet’s watering

  hole: X.com.

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         30.     The Wall Street Journal amplified the engagement of the Article by republishing it

  on its X account—to all 20,800,000 of its followers. 2 Thus far, it has received over 6,800,000

  unique impressions.

         31.     To further exacerbate this already caustic situation, The Wall Street Journal also

  placed the Article on the front page of its July 18, 2025, newspaper 3:




  2       https://x.com/WSJ/status/1945979106480316636 WALL STREET JOURNAL @WSJ (last
  visited July 18, 2025).
  3
          https://x.com/WSJ/status/1946064934359433300 WALL STREET JOURNAL @WSJ (last
  visited July 18, 2025).
                                                     9
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          32.     The Lincoln Project, a known anti-Trump organization, republished the Article to

   all 2,800,000 of its followers. 4 As of this writing, it has received over 229,700 unique impressions.

          33.     Collin Rugg, a journalist with over 1,800,000 followers on X.com, republished

   several of the false and defamatory statements contained in the Article, as well as powerful denials

   by President Trump. 5 To date, it has received over 3,500,000 unique impressions:




   4
        https://x.com/ProjectLincoln/status/1945987811812741455               THE     LINCOLN   PROJECT
   @PROJECTLINCOLN (last visited July 18, 2025).
   5
            https://x.com/CollinRugg/status/1945984541266702745 COLLIN RUGG @COLLINRUGG
   (last visited July 18, 2025).
                                                     10
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          34.     Keith Olbermann, a podcaster with over 900,000 followers on X.com, republished

   several of the false and defamatory statements contained in the Article. 6 To date, it has received

   over 200,000 unique impressions:




          35.     Ken Klippenstein, an independent social media influencer with over 543,000

   followers on X.com, republished the headline and several false and defamatory statements from

   the Article. 7 To date, his republication has received over 1,000,000 unique impressions.


   6
        https://x.com/KeithOlbermann/status/1945984602612310262                   KEITH      OLBERMANN
   @KEITHOLBERMANN (last visited July 18, 2025).
   7
       https://x.com/kenklippenstein/status/1945981689970266505                   KEN       KLIPPENSTEIN
   @KENKLIPPENSTEIN (last visited July 18, 2025).
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          36.     Seth Abramson, a self-described biographer and New York Times best-selling

   author, republished the Article in its entirety to his over 829,800 followers on X.com. 8 Thus far,

   his post has received over 2,800,000 unique impressions.

          37.     The following morning, July 18, 2025, Defendants continued to amplify the

   defamatory statements contained in the Article, adding over 440,000 unique impressions 9:




   8
        https://x.com/SethAbramson/status/1945990177920373225                     SETH      ABRAMSON
   @SETHABRAMSON (last visited on July 18, 2025).
   9
        https://x.com/wsj/status/1946213796663775629?s=46 THE WALL STREET JOURNAL
   @WSJ (last visited on July 18, 2025).

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          38.     Indeed, Defendants are actively promoting the Article by displaying at the center

   of The Wall Street Journal’s landing page on www.wsj.com.

          39.     Moreover, as of July 18, 2025, the Article was the number one trending topic on

   X.com 10:




          40.     In addition, multiple media outlets republished, adopted, and endorsed the false,

   defamatory, disparaging, and inflammatory statements in the Article, including, but not limited to,




   10
          “Trump Seeks Release of Epstein Grand Jury Records” X.COM (last visited on July 18,
   2025) (https://x.com/i/trending/1946204545920757762).
                                                     13
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   CNN, 11 MSNBC, 12 CNBC. 13 Variety, 14 Politico, 15 People Magazine, 16 The Independent,17 The

   Guardian, 18 and Rolling Stone. 19

          41.     Although these articles, transmissions, and social media posts and articles are only

   a fraction of the impressions and engagement that have been generated by the Article, the false,


   11
            “Wall Street Journal: Birthday letter to Epstein bore Trump’s signature, drawing of naked
   woman”        CABLE        NEWS       NETWORK          (last    visited    July      18,     2025)
   (https://www.cnn.com/2025/07/17/politics/epstein-birthday-letter-trump).
   12
          “WSJ: Trump birthday note to Epstein says ‘May every day be another wonderful secret’
   ” MSNBC (last visited on July 18, 2025) (https://www.msnbc.com/all-in/watch/wsj-trump-
   birthday-note-to-epstein-says-may-every-day-be-another-wonderful-secret-243433029666).
   13
          “Trump sent Jeffrey Epstein ‘bawdy’ 50th birthday letter: WSJ” CNBC (Last visited July
   18,     2025)    (https://www.cnbc.com/amp/2025/07/17/trump-jeffrey-epstein-birthday-letter-
   wsj.html).
   14
          “Trump was Attemping to Block Publication of Embarrassing WSJ Jeffrey Epstein Story”
   VARIETY (last visited July 18, 2025) (https://variety.com/2025/politics/news/trump-attempted-
   block-publication-wsj-jeffrey-epstein-story-1236463201/).
   15
            “WSJ says Trump wrote racy birthday letter to Epstein. The president says it never
   happened.”          POLITICO       (last       visited         July          18,       2025)
   (https://www.politico.com/news/2025/07/17/trump-epstein-wall-street-journal-00461787).
   16
          “Trump Reportedly Told Epstein They Have ‘Certain Things in Common’ in Lewd
   Birthday Card: ‘May Every Day Be Another Wonderful Secret’ ” PEOPLE MAGAZINE (last visited
   July 18, 2025) (https://people.com/trump-reportedly-told-epstein-they-have-certain-things-in-
   common-in-lewd-birthday-card-11690275).
   17
            “Reported birthday card from Trump to Epstein shines new light on their friendship as
   fallout from files release mounts” THE INDEPENDENT (last visited July 18, 2025)
   (https://www.independent.co.uk/news/world/americas/us-politics/trump-epstein-files-friendship-
   list-b2791282.html).
   18
         “Trump news at a glance: Fallout from Epstein case widens as Trump threatens to sue
   WSJ” THE GUARDIAN (last visited July 18, 2025) (https://www.theguardian.com/us-
   news/2025/jul/18/trump-administration-news-today).
   19
           “Team Trump was on ‘F-cking Warpath’ to Kill Story About Salacious Letter to Epstein”
   ROLLING STONE (last visited July 18, 2025) (https://www.rollingstone.com/politics/politics-
   features/trump-team-tried-kill-report-salacious-letter-epstein-1235388533/).
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   defamatory, disparaging, and inflammatory statements contained therein have been seen by

   hundreds of millions of people.

           42.     All the above-referenced articles, posts, and false statements have resulted in

   overwhelming financial and reputational damages to President Trump, expected to be in the

   billions of dollars, due to the direct and implicit defamatory statements paraded throughout the

   Article.

           43.     All conditions precedent to the bringing of this action have occurred, been satisfied,

   or have otherwise been waived.

           44.     As a result of the Defendants’ wrongful conduct, described herein, and Plaintiff’s

   need to protect and enforce his legal rights, Plaintiff has retained the undersigned attorneys, and is

   required to pay attorneys’ fees to prosecute this action.

                                  COUNT I – DEFAMATION PER SE

           45.     Plaintiff repeats and realleges the allegations contained within paragraphs 1 through

   44, supra, as if set forth herein.

           46.     The unprivileged statements set forth in the Article, including but not limited to

   those specified in paragraph 24 and all subparagraphs therein, made by Defendants to others about

   Plaintiff are false and defamatory.

           47.     At the time such statements were made, endorsed, authorized, and/or adopted by

   Defendants, Defendants knew or should have known that they were false and defamatory.

           48.     Defendants published such statements maliciously, with knowledge of the falsity

   of the statements, and/or with reckless disregard of their truth or falsity.

           49.     An overwhelming number of people all over the world read the false and

   defamatory statements contained in the Article.

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           50.      The statements were not privileged.

           51.      The statements were published by Defendants with actual malice, oppression, and

   fraud in that they were aware at the time of the falsity of the publication and thus, made said

   publications in bad faith, out of disdain and ill-will directed towards Plaintiff without any regard

   for the truth.

           52.      Defendants possessed information and had access to information that showed their

   statements were false.

           53.      Defendants also made statements for which they had no factual basis.

           54.      Moreover, the statements tend to harm the reputation of Plaintiff as to lower his

   professional reputation in the community or deter third persons from associating or dealing with

   him and, as such, constitute defamation per se.

           55.      As a proximate result of the maliciously false and defamatory publication of

   statements to third parties by Defendants, Plaintiff has been damaged.

           56.      Because Defendants’ defamatory statements constitute intentional acts which were

   made with actual malice towards Plaintiff, Plaintiff seeks an award for punitive damages.

           WHEREFORE, Plaintiff President Donald J. Trump demands judgment against

   Defendants Dow Jones & Company, Inc. d/b/a The Wall Street Journal, News Corporation, Keith

   Rupert Murdoch, Robert Thomson, Khadeeja Safdar, and Joseph Palazzolo for damages, punitive

   damages, court costs, and such other relief as the Court deems just and proper, not to be less than

   $10 billion dollars.

                               COUNT II – DEFAMATION PER QUOD

           57.      Plaintiff incorporates by reference the allegations set forth in paragraphs 1 through

   44, supra, as if fully set forth herein.

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           58.      The unprivileged statements set forth in the Article, including but not limited to

   those specified in paragraph 25 and all subparagraphs therein, made by Defendants to others about

   Plaintiff are false and defamatory.

           59.      At the time such statements were made by Defendants, Defendants knew or should

   have known that they were false and defamatory.

           60.      Defendants published such statements maliciously, with knowledge of the falsity

   of the statements, and/or with reckless disregard of their truth or falsity.

           61.      An overwhelming number of people all over the world read the false and

   defamatory statements contained in the Article.

           62.      The statements were not privileged.

           63.      The statements were published by Defendants with actual malice, oppression and

   fraud in that they were aware at the time of the falsity of the publication and thus, made said

   publications in bad faith, out of disdain and ill-will directed towards Plaintiff without any regard

   for the truth.

           64.      Moreover, the statements tend to so harm the reputation of Plaintiff as to lower his

   professional reputation in the community or deter third persons from associating or dealing with

   him.

           65.      As a proximate result of the false and defamatory publication of statements to third

   parties by Defendants, Plaintiff has been damaged.

           66.      Because Defendants’ defamatory statements constitute intentional acts which were

   made with actual malice towards Plaintiff, Plaintiff seeks an award for punitive damages.

           WHEREFORE, Plaintiff President Donald J. Trump demands judgment against

   Defendants Dow Jones & Company, Inc. d/b/a The Wall Street Journal, News Corporation, Keith

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   Rupert Murdoch, Robert Thomson, Khadeeja Safdar, and Joseph Palazzolo for damages, punitive

   damages, court costs, and such other relief as the Court deems just and proper, not to be less than

   $10 billion dollars.

                                     DEMAND FOR JURY TRIAL

          Plaintiff hereby requests a jury trial as to all issues so triable.

   Date: July 18, 2025                                     Respectfully submitted,
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                                                           By: /s/ Alejandro Brito
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